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                                              EXHIBIT R

                         Agreement on Attorneys’ Fees, Costs, and Expenses


         This Agreement on Attorneys’ Fees, Costs, and Expenses (“Fee Agreement”) is entered between
Walgreens and the Plaintiffs’ Executive Committee appointed in the multidistrict litigation in the Northern
District of Ohio, In re National Prescription Opiate Litigation, No. 1:17-MD-2804 (“MDL PEC”), in
connection with the Walgreens Global Opioid Settlement Agreement (“Walgreens Agreement”). This Fee
Agreement becomes effective on the Effective Date of the Walgreens Agreement or the date that the
Consent Judgments anticipated under the Walgreens Agreement become final in 25 Settling States
(whichever is later).


I.      Definitions



        A. This Fee Agreement incorporates all defined terms in the Walgreens Agreement, unless
           otherwise defined herein, and shall be interpreted in a manner consistent with the Walgreens
           Agreement.


        B. “Applicant.” Any Attorney or MDL Participating Counsel who seeks an award of attorneys’
           fees from the Attorney Fee Fund pursuant to the procedures established by the MDL Court and
           the Fee Panel.


        C. “Attorney.” Any of the following retained through a legal contingency fee or hourly fee
           contract: a solo practitioner, multi-attorney law firm, or other legal representative of a
           Participating Subdivision or MDL Participating Counsel. This does not include Subdivision
           in-house attorneys.


        D. “Attorney Fee Fund.” An account consisting of up to $563,732,518.00 allocated to pay
           attorneys’ fees approved pursuant to Section II.B. of this Fee Agreement, established by Order
           of and under the ongoing jurisdiction of the MDL Court, as provided below.


        E. “Common Benefit.” Work performed for the benefit of all Participating Subdivisions and Tribal
           Nations, including, but not limited to, pretrial matters, discovery, trial preparation, trial,
           settlement negotiations, and all other work that advances the interests of the Participating
           Subdivisions.


        F. “Common Benefit Fund.” The sub fund of the Attorney Fee Fund described in Section II.C.


        G. “Common Benefit Order.” The Ongoing Common Benefit Order (Dkt. #4428) in In re National
           Prescription Opiate Litigation, Case No. 1:17-md-2804, any subsequent amendments or
           modifications to that order, and any successor orders on Common Benefit.


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     H. “Contingency Fee Fund.” The sub fund of the Attorney Fee Fund described in Section II.D.


     I.   “Cost and Expense Fund Administrator.” The administrator appointed by the MDL Court on
          August 12, 2021 (MDL Docket No. 3828), to administer the Cost Fund and its sub funds as
          provided in the Fee Agreement.


     J. “Cost Fund.” An account consisting $30,000,000, composed of the MDL Direct Cost Fund
        and the Subdivision Cost and Expense Fund, as provided below.


     K. “Court Common Benefit Fund.” The Common Benefit Fund established by the MDL Court in
        its orders of July 22, 2021, MDL Docket No. 3794, and May 9, 2022, MDL Docket No. 4428.


     L. “Fee Entitlement.” Any right, entitlement, or expectation, including but not limited to a fee
        contract, contingent fee contract, agreement, referral arrangement, co-counsel arrangement,
        State Back-Stop Agreement, or any other arrangement by which counsel could receive
        compensation or other consideration. For the avoidance of doubt, the scope of Fee Entitlement
        under paragraph II.G.3.a. does not include any Attorneys’ fees associated with representation
        of a State.


     M. “Fee Panel.” The three-person panel appointed by the MDL Court on August 12, 2021 (MDL
        Docket No. 3828), to administer and make recommendations for the allocation and distribution
        of the Attorney Fee Fund and its sub funds as provided in the Fee Agreement.


     N. “Later Litigating State.” A State that first files a lawsuit bringing a Released Claim against a
        Released Entity after December 9, 2022.


     O. “MDL Court.” United States District Court for the Northern District of Ohio Eastern Division,
        Case No. 1:17-md-2804, Judge Dan Aaron Polster.


     P. “MDL Expense Fund.” The cost fund described in Section II.F below.


     Q. “MDL Participating Counsel.” MDL Participating Counsel includes an attorney or firm
        authorized by MDL 2804 Lead Counsel to perform work for the Common Benefit of
        Participating Subdivisions. By way of example, it would include insurance counsel and
        appellant counsel.


     R. “MDL PEC.” The Plaintiffs’ Executive Committee appointed by the MDL Court.


     S. “Non-Participating Litigating Subdivision.” A Litigating Subdivision that is not a Participating
        Subdivision.



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        T. “Non-Participating State.” A State that is not a Participating State.


        U. “Participating Litigating Subdivision.” A Litigating Subdivision that is also a Participating
           Subdivision.


        V. “Participation Agreement.” An agreement executed by an Attorney that acknowledges the
           obligation to pay an appropriate MDL Common Benefit Assessment.


        W. “Qualified Tribal Representation.” Representation by an attorney of a Participating Tribal
           Government regarding Released Claims against Released Entities. Such counsel are eligible
           for Common Benefit Fee consideration. The Walgreens Tribal Global Settlement provides for
           the contribution to the Common Benefit Fund as shall be determined by the MDL Court.


        X. “Qualifying Representation.” Legal services provided for representation of the MDL PEC or
           Participating Litigating Subdivision regarding Released Claims against Released Entities.


        Y. “State Back-Stop Agreement.” Any agreement by a Settling State and private counsel for
           Participating Subdivisions in that State (or legislation enacted in that State) to provide, adjust,
           or guarantee attorneys’ fees and costs, whether from the Attorney Fee Fund or any other source
           recognized in the agreement or legislation.6


        Z. “Subdivision Cost and Expense Fund.” The fund created to pay approved Subdivision and
           Tribal Nations costs and expenses as set forth in Section II.E.


       AA. “Walgreens.” Walgreen Co. and all of its respective past and present direct or indirect parents,
           subsidiaries, divisions, affiliates, joint ventures, predecessors, successors, and assigns.


II.     Fees and Costs

        A.       Total Attorneys’ Fees and Costs

                 1.       Total attorneys’ fees and costs to be paid by Walgreens to Attorneys under this Fee
                          Agreement shall be up to, but in no event more than, $593,732,518.00, subject to
                          the reductions and provisions set forth below. The total attorneys’ fees and costs
                          consists of up to $563,732,518 for the Attorney Fee Fund, as set forth in Section
                          II, and $30,000,000 in total for the Cost Fund, divided between the Subdivision
                          Cost and Expense Fund and MDL Expense Fund, as set forth in Sections II.E and
                          II.F, respectively. Additionally, Walgreens shall also pay $44,867,483.00 into the
                          Court Common Benefit Fund as a common benefit fund assessment on the Credit
                          set forth in Ex. M-3, and shall be paid on the schedule set forth in Ex. M-3. The



6
 Nothing herein shall be understood to indicate approval for additional State Back-Stop Agreements or
modifications of existing State Back-Stop Agreements.

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                   Maximum Attorney Fees and Costs, subject to the reductions set forth herein, are
                   set forth in Ex. M-3 and shall be paid on the schedule in Ex. M-3.

            2.     If an Eligible State does not join the Agreement by the State Participation Date and
                   is accordingly not a Settling State, the total attorneys’ fees and costs to be paid
                   under this Fee Agreement by Walgreens shall be reduced by twelve point four
                   percent (12.4%) times the Remediation Payment amount that would have been
                   allocated to that Non-Settling State as set forth in Section IV.B of the Walgreens
                   Agreement.

            3.     The total attorneys’ fees and costs to be paid under this Fee Agreement by
                   Walgreens shall also be reduced by the amount of the Contingency Fee Fund for
                   Attorneys representing Litigating Subdivisions in any Settling State that do not
                   participate in the Walgreens Agreement (“Non-Participating Litigating
                   Subdivisions”), as set forth in Section II.D.4 and II.H.7 below.

            4.     If Walgreens settles with any Non-Settling State after December 9, 2022, and such
                   settlement allows for the Subdivision(s) in such Non-Settling State to join the
                   settlement, Walgreens agrees to withhold from the attorney fee portion of such
                   settlement a Common Benefit Fund assessment, to be deposited in the Court
                   Common Benefit Fund, of 7.5% times the portion of the Remediation Payment that
                   would have been due to such State if it had participated in the Walgreens
                   Settlement and been awarded its full portion of the Remediation Payment (the
                   “Walgreens State Settlement CBF Assessment”). If Walgreens settles with any
                   Subdivision(s) in a Non-Settling State other than in connection with a statewide
                   settlement that includes the relevant State after December 9 2022, then Walgreens
                   agrees to withhold from the attorney fee portion of such settlement a Common
                   Benefit Fund assessment, to be deposited in the Court Common Benefit Fund, of
                   7.5% times the portion of the Remediation Payment that would have been due to
                   such Subdivision under this Agreement (the “Walgreens Subdivision CBF
                   Assessment,” and, along with the Walgreens State Settlement CBF Assessment,
                   each a “Walgreens CBF Assessment”). If (a) Walgreens settles with a Non-Settling
                   State after December 9, 2022, (b) such settlement does not allow for the
                   Subdivision(s) in such Non-Settling State to join the settlement, and (c) Walgreens
                   later prevails in asserting that Released Claims of Primary Subdivisions in such
                   Non-Settling State were released as a result of such settlement, Walgreens agrees
                   to deposit the Walgreens State Settlement CBF Assessment in the Common
                   Benefit Fund. Any Walgreens CBF Assessment is inclusive of any assessment
                   related to such settlement that would be required by the Common Benefit Order.
                   To the extent that Walgreens is required to pay any additional and/or separate
                   assessment on such settlement as a result of the Common Benefit Order, the
                   Walgreens CBF Assessment shall be reduced by the amount required to be paid
                   pursuant to the Common Benefit Order.

     B.     Attorney Fee Fund and Sub Funds

            1.     The Attorney Fee Fund shall consist of the Contingency Fee Fund and the
                   Common Benefit Fee Fund. There shall be a split of the Attorney Fee Fund into

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                  the Contingency Fee Fund and the Common Benefit Fund. The split shall be 40%
                  to the Contingency Fee Fund and 60% to the Common Benefit Fund.

            2.    The Cost Fund shall include the MDL Expense Fund and the Subdivision Cost
                  and Expense Fund. The State Counsel Fee Fund and the State Cost Fund shall be
                  separate funds under the control of the Settling States .

            3.    It is the intention of the Parties that the Contingency Fee Fund and the Common
                  Benefit Fund shall be administered by the Fee Panel appointed under MDL Docket
                  No. 3828, which will be governed by the provisions of this Fee Agreement and
                  shall design the process and procedures for the allocation of fees pursuant to this
                  Fee Agreement and the MDL Court’s Order. The Cost Funds shall be administered
                  by the Cost and Expense Fund Administrator appointed under MDL Docket No.
                  3828, who will be governed by the provisions of this Agreement and shall design
                  the process and procedures for the allocation of costs pursuant to this Agreement
                  and the MDL Court’s Order.

            4.    The fees to be paid under this Fee Agreement are available for Attorneys engaged
                  in Qualifying Representations and Qualified Trial Representations only. Fees to
                  be paid under this Fee Agreement are not available prior to the Effective Date of
                  the Walgreens Agreement. Fees to be paid under this Fee Agreement are not
                  available for representation of States, Non-Participating Subdivisions, or Non-
                  Litigating Subdivisions and are not available for representation of private
                  hospitals, third-party payors, NAS claimants, personal injury/wrongful death
                  claimants, or any entity other than Participating Litigating Subdivisions. In
                  addition, fees under this Fee Agreement are not available for representation of any
                  individual or entity in matters other than those claims against Released Entities,
                  but may include a reasonable share of representations that involve development of
                  facts for pursuit of opioid-related claims against multiple defendants in the
                  pharmacy, manufacturing, and distribution chain.

            5.    In no event shall Walgreens be required to pay more into the Attorney Fee Fund
                  than the maximum amount specified in paragraph II.A.1. The amounts allocated
                  to the Contingency Fee Fund and the Common Benefit Fund set by the Fee Panel
                  shall be subject to the reductions set forth in Section II.A.2 and the reductions and
                  refunds set forth below.

            6.    Awards of fees from the Contingency Fee Fund shall be available to Attorneys
                  with Qualifying Representations of Participating Litigating Subdivisions eligible
                  to receive an allocation under the Walgreens Agreement, as set forth in Exhibit G
                  to the Walgreens Agreement, and shall be made by applying the Mathematical
                  Model attached as Exhibit “A” to this Fee Agreement. The collection of the data
                  and calculations for the Mathematical Model has been a cooperative effort among
                  private counsel for a large number of Litigating Subdivisions. The analysis has
                  been spearheaded by Joseph Tann and Andrew Arnold. The Fee Panel is
                  encouraged to continue working with those counsel in application of the Model.
                  The Fee Panel shall oversee the application of the Model and resolve any questions
                  or disputes concerning the eligibility of a Counsel to participate as required in

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                    Section II.G. The Panel is empowered to hear disputes concerning and ensure the
                    accuracy of the mathematical calculation.

            7.      As to awards from the Contingency Fee Fund, there shall be no right of appeal.

            8.      Any appeal of an award of the Fee Panel from the Common Benefit Fund will be
                    made to the MDL Court and be reviewed under an abuse of discretion standard.



     C.     Common Benefit Fund (60% of the Attorney Fee Fund)

            1. The maximum potential total Common Benefit Fund payment to be made by
               Walgreens into the Attorney Fee Fund is $338,239,510.80, and in no event shall it
               exceed that amount. Walgreens’ maximum potential Common Benefit Fund payments
               are subject to the reductions set forth in Section II.A.2. for Non-Settling States and to
               the adjustments set forth below and, subject to those reductions, shall be paid on the
               following yearly schedule:


                                                           Walgreens Shall Pay Common Benefit
                              Year 2
                        December 31, 2023                $50,373,251.40


                              Year 3
                        December 31, 2024                $50,373,251.40


                              Year 4
                        December 31, 2025                $59,373,251.40


                              Year 5
                        December 31, 2026                $59,373,250.00


                              Year 6
                        December 31, 2027                $59,373,250.00


                              Year 7



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                              December 31, 2028                  $59,373,250.60




                                      Total                      $338,239,510.80




                Additionally, Walgreens shall pay $44,867,483.00 into the Court Common Benefit Fund
        as a common benefit fund assessment on the Credit set forth in Ex. M-3 and shall be paid on the
        schedule set forth in Ex. M-3.7


                 2. The Common Benefit Fund shall be available to compensate Attorneys engaged in
                    Qualifying Representations of Participating Litigating Subdivisions and Qualified
                    Tribal Representation of Tribal Participating Governments who:


                      a. have performed work for the Common Benefit of all Participating Subdivisions
                         and/or Tribal Nations consistent with the provisions to the guidelines established
                         by Judge Polster set forth in MDL 2804 and the Order dated May 1, 2018, under
                         docket number 358, which is included herein by reference; and



                      b. satisfy the eligibility criteria set forth in Section II.G.

                      For purposes of Common Benefit Fund distribution, notwithstanding paragraph II.A.5,
                      Attorneys representing Tribal Nations litigating against Walgreens have also reached
                      a settlement for Released Claims with Walgreens, and these settlements are the subject
                      of agreements with Walgreens. Attorneys are eligible for Common Benefit
                      consideration provided such agreement with Walgreens became effective under their
                      terms. Such Attorneys must meet the eligibility criteria in Section II.G.


                      For purposes of Common Benefit Fund distribution, notwithstanding paragraph II.A.5,
                      MDL Participating Counsel not engaged in Qualifying Representations of Participating
                      Litigating Subdivisions but who performed work for the Common Benefit pursuant to
                      authorization from the MDL Co-Leads and meet the eligibility criteria in Section II.G.
                      shall be eligible.


                 3. Walgreens’ Common Benefit Fund payments under this Fee Agreement satisfy any
                    assessments or withholdings for the Walgreens Agreement that are or could be required
                    under the Common Benefit Order for Settling States and their Participating

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  For the avoidance of doubt, Walgreens is not required to pay any sums under this Agreement for matters settled
prior to December 6, 2022, other than the $44,867,483.00 payment referenced above.

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                      Subdivisions. The Common Benefit Fund shall be overseen by the Fee Panel, which
                      shall determine the allocation of funds to eligible Attorneys consistent with this Fee
                      Agreement and the Common Benefit Order.

                 4. In assessing the benefits that an Applicant has conferred to Participating Subdivisions
                    (including non-Litigating Subdivisions) and/or Tribes for purposes of any
                    compensation decision, the Fee Panel shall give significant weight to the extent to
                    which (i) the Applicant and his or her clients have contributed to increasing (or
                    reducing) Subdivision Participation in the Walgreens Agreement as of the Initial
                    Participation Date, and (ii) the Applicant and his or her clients have contributed to
                    increasing (or reducing) the amounts achieved under Incentive Payments A-D through
                    participation in the Walgreens Agreement, including the Walgreens Tribal Agreement.
                    The Fee Panel shall also consider additional fee recoveries the Applicant may
                    potentially obtain, including, but not limited to, from attorney fee funds under other
                    settlement agreements, State Back-Stop Agreements, representations of States or
                    Tribal Nations, representations of other clients in opioids-related matters, or through
                    the representation of Subdivision clients, whether they participated in the Walgreens
                    Agreement or not. It is the intent of this provision to recognize that the goal of the
                    Walgreens Agreement is to provide for maximum participation by the Subdivisions,
                    maximum abatement funding for all Subdivisions nationally, and the maximum peace
                    for Released Entities. Therefore, representing one or more Non-Participating States or
                    Non-Participating Subdivision does not further the goal of the Walgreens Agreement,
                    and should not be considered Common Benefit because it does not increase funds
                    available to Participating Subdivisions’ abatement programs. Representing one or
                    more Later Litigating Subdivisions is antithetical to the Walgreens Agreement and
                    detracts from Common Benefit; the Fee Panel shall consider this concept of “common
                    detriment” set forth in this paragraph in all of its decision making with respect to the
                    allocation of the Attorney Fee Fund among Applicants, as well as, in its discretion, any
                    reductions provided to Walgreens as set forth in Section II.H. 8 The Fee Panel shall
                    consider the totality of the Applicant’s Participating Litigating Subdivisions as
                    compared to the Applicant’s Non-Participating Litigating Subdivisions; the Parties
                    recognize that, although the goal is for 100% participation, Applicants with a greater
                    number of clients have a greater probability of having one or more Non-Participating
                    Litigating Subdivisions. As used in this paragraph II.C.4, “client” or “representing” a
                    Subdivision shall include any Litigating Subdivision as to which the Applicant has a
                    Fee Entitlement.


                 5. As set forth in Section II.H, the Fee Panel must consider the factors described in
                    paragraph II.C.4 to determine how and whether to reduce the amounts to be paid by
                    Walgreens under this Fee Agreement and to determine how to allocate funds among
                    Applicants. They may also, at their discretion, consider other factors. Any reduction
                    in payment obligation or credit to be given Walgreens in this Fee Agreement shall be
                    applied against the last Payment Year and then working backwards. Any reduction to
                    an Applicant not credited to Walgreens shall be allocated to attorneys whose Litigating
                    Subdivision clients participated in the settlement by the Initial Participation Date.
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         Notwithstanding any provisions set forth herein, it is expressly understood and agreed that continued
representation of CT-3 Bellwether jurisdictions, Lake County or Trumbull County, shall not be considered by the
Fee Panel as common detriment or adverse to the stated purposes of the Master Settlement Agreement and will not
in any way prejudice counsel in seeking common benefit for the work related to the representations of these counties
or in any other respect.

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     D.     Contingency Fee Fund (40% of the Attorney Fee Fund)

            1. The maximum potential total Contingency Fee Fund payment to be made by Walgreens
               into the Attorney Fee Fund is $225,493,007.20, and in no event shall it exceed that
               amount. Walgreens’ maximum potential Contingency Fee Fund payment shall be
               subject to the reductions set forth in Section II.A.2 for Non-Settling States and to the
               adjustments set forth below and, subject to those reductions, shall be paid on the
               following yearly schedule:


                                      Walgreens Shall Pay Contingency Fee Fund

                         Year 2
                 December         31, $33,582,167.60
                 2023

                         Year 3
                 December         31, $33,582,167.60
                 2024

                         Year 4
                 December         31, $39,582,167.60
                 2025

                         Year 5
                 December         31, $39,582,168.00
                 2026

                         Year 6
                 December         31, $39,582,168.00
                 2027

                         Year 7
                 December         31, $39,582,168.00
                 2028



                 Total                $225,493,007.20




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            2. The Contingency Fee Fund shall be available to compensate Attorneys engaged in
               Qualifying Representations of Participating Litigating Subdivisions that meet the
               criteria set forth in Section II.G.


                 a. The Contingency Fee Fund shall be available to Attorneys who represent Litigating
                    Subdivisions that are Participating Subdivisions, whether their actions are filed in
                    state or federal court, and meet the eligibility criteria of Section II.G.


                 b. Participation in the Contingency Fee Fund by counsel that have a case that is not
                    subject to the jurisdiction of the MDL Court shall not create, provide, or waive
                    jurisdiction of the MDL Court over that Litigating Subdivision, that case or
                    Attorneys, other than to oversee the fairness of the distribution process, and
                    enforcement of this Fee Agreement.


            3. The amount owed by Walgreens to the Contingency Fee Fund shall be reduced to
               reflect the non-joinder of Litigating Subdivisions in Settling States by subtracting the
               amounts identified by the Fee Panel, pursuant to paragraph II.H.7, that would have
               been owed to counsel for Non-Participating Litigating Subdivisions in Settling States
               had such Litigating Subdivisions been Participating Subdivisions.

            4. In the event that after the date of the Walgreens Agreement, Walgreens, prior to the
               Effective Date of the Walgreens Agreement, settles with any Litigating Subdivision
               that would have been eligible to participate in the Settlement Agreement, and, under
               such settlement agreement pays attorneys’ fees, the Fee Panel shall treat those
               Litigating Subdivisions as Participating Litigating Subdivisions and, applying the same
               criteria applicable to all Attorneys for Participating Litigating Subdivisions, determine
               what amount they would have been paid from the Contingency Fee Fund if they had
               become Participating Subdivisions under the Walgreens Agreement without such prior
               settlement. That sum, rather than being paid to the Attorney for the previously settling
               Litigating Subdivision, shall be returned to Walgreens, except that such refund shall
               not be greater than the amount paid to the Attorneys under the Litigating Subdivision’s
               prior settlement agreement.


      E.    Subdivision Cost and Expense Fund

            1.       Walgreens shall pay $22,500,000 into the Subdivision Cost and Expense Fund on
                     the schedule set forth below.

                               Cost Fund

                    Year 2
                  December     $11,250,000
                  31, 2023


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                  Year 3
                 December    $11,250,000
                 31, 2024


            2.     The Subdivision Cost and Expense Fund shall be available to compensate
                   Attorneys for costs and expenses arising out of representation of Participating
                   Litigating Subdivisions. No funds in the Subdivision Cost and Expense Fund may
                   be used to compensate the costs incurred by Non-Participating Subdivisions or
                   Non-Litigating Subdivisions or costs and expenses arising out of representation of
                   any such Subdivision. In allocating the Subdivision Cost and Expense Fund, the
                   Administrator shall not allocate any funds for costs incurred after December 9,
                   2022.

            3.     During the period between December 9, 2022 and the Effective Date of the
                   Walgreens Agreement, the MDL PEC, as well as Litigating Subdivisions eligible
                   to claim costs from the Subdivision Cost and Expense Fund, shall make best efforts
                   to cease litigation activity against Walgreens, including by jointly seeking stays or
                   severance of claims against Walgreens, where feasible, or postponements if a
                   motion to stay or sever is not feasible or is denied, so long as such actions are not
                   otherwise detrimental to the Litigating Subdivision.

            4.     In the event that Walgreens, prior to the Effective Date of the Walgreens
                   Agreement, settles with any Litigating Subdivision and, under such settlement
                   agreement, pays costs to the Litigating Subdivision or its Attorney, the MDL
                   Cost and Expense Fund Administrator shall treat those Litigating Subdivisions as
                   Participating Litigating Subdivisions and, using the same criteria applicable to all
                   applicants to the Subdivision Cost and Expense Fund, determine what amount in
                   costs the Litigating Subdivision or its Attorney would have been paid from the
                   Subdivision Cost and Expense Fund if they had settled under the Walgreens
                   Agreement. That sum, rather than being paid to the Attorney or the previously
                   settling Litigating Subdivision, shall be credited and/or returned to Walgreens,
                   except that such sum shall not be greater than the amount paid under the
                   previously settled Litigating Subdivision’s settlement agreement.

            5.     The Cost Fund shall be administered by the Cost Fund and Expense Fund
                   Administrator (MDL Docket No. 3828), who will be governed by the provisions
                   of this Agreement and shall design the process and procedures for the allocation
                   of costs pursuant to this Agreement and the MDL Court’s Order.

            6.     The costs of the Cost and Expense Fund Administrator shall be paid from the Cost
                   Fund and allocated by the Cost and Expense Fund Administrator between the MDL
                   Direct Cost Fund and the Subdivision Cost and Expense Fund to fairly charge each
                   fund the cost incurred in implementing and supervising the specific fund.




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            7.    The Cost and Expense Fund Administrator shall set the process and procedures for
                  submission of and criteria for applications for payment of Subdivisions’ and Tribal
                  Nations’ costs and expenses. The Cost and Expense Fund Administrator shall
                  receive and evaluate applications from Participating Litigating Subdivisions and
                  litigating Tribal Nations, whether filed in Federal Court or State Court, to seek
                  reimbursement for eligible costs under Section II.E.2 in pursuit of claims against
                  Walgreens. The process shall require a showing that the costs or expenses sought
                  were reasonably incurred in furtherance of active litigation of a designated state or
                  federal bellwether trial-set case, or Common Benefit. The Cost and Expense Fund
                  Administrator shall require transparency from all applicants as to any other sources
                  for compensating Attorneys for Subdivisions and Tribal Nations for costs incurred.
                  If funds remain after the reimbursement of approved out-of-pocket costs, the Cost
                  and Expense Fund Administrator may consider reasonable and appropriate
                  payment for client time, costs, or expenses incurred by recognized trial bellwether
                  plaintiffs. At the conclusion of the process, any funds not allocated by the Cost
                  and Expense Fund Administrator shall be transferred to the Common Benefit Fund
                  established in this Exhibit R.



            8.    In the event that States and Subdivisions enter into an additional global settlement
                  with a party or parties other than Walgreens that is (a) under the jurisdiction of the
                  MDL Court in MDL No. 2804, (b) creates a separate cost fund, and (c) unless the
                  parties agree to another date, such agreement has an effective date prior to June
                  30, 2023, the Cost and Expense Fund Administrator shall have the authority to
                  aggregate the Cost Fund with the cost fund created under that global settlement
                  agreement. The Cost and Expense Fund Administrator shall have the authority to
                  address the appropriate procedures and required information to allow the costs to
                  be funded from the appropriate cost fund or shared by two or more cost funds;
                  provided, however, that the Subdivision Cost and Expense Fund shall remain
                  subject to the requirements set forth in Section II.E.2. For the avoidance of doubt,
                  the Subdivision Cost and Expense Fund is available only to compensate Attorneys
                  for costs and expenses arising out of representation of Participating Litigating
                  Subdivisions, and no funds in the Subdivision Cost and Expense Fund may be used
                  to compensate the costs incurred by Non-Participating Subdivisions or Non-
                  Litigating Subdivisions or costs and expenses arising out of representation of any
                  such Subdivision.



      F.    MDL Expense Fund

            1.    Walgreens shall pay $7,500,000 into the MDL Expense Fund on the schedule set
                  forth below.

                            MDL Expense Fund

                  Year 2    $3,750,000


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                 December
                 31, 2023

                    Year 3
                 December      $3,750,000
                 31, 2024


            2.      The MDL Expense Fund shall be released following the Effective Date of this Fee
                    Agreement without any delay to reimburse the MDL Counsel for an agreed-to
                    portion of the expenses incurred, as approved by the Cost and Expense Fund
                    Administrator. The sum deposited into the MDL Expense Fund will be paid
                    directly to the MDL Opiate Capital Account. No funds may be used to compensate
                    the costs incurred by Non-Participating Subdivisions or Non-Litigating
                    Subdivisions, or to compensate any Attorney for costs incurred in representing one
                    or more Non-Participating Subdivisions or Non-Litigating Subdivisions.

            3.      In allocating the MDL Expense Fund, the Administrator shall not allocate any
                    funds for costs incurred after December 9, 2022, unless the Administrator
                    determines that there are sufficient funds to cover all Subdivision costs incurred
                    prior to December 9, 2022 and that special circumstances exist to justify costs
                    incurred following the public announcement of the Walgreens Agreement,
                    including reasonable costs related to the implementation of the Walgreens
                    Agreement.

      G.    Eligibility

            1. It is the intention of all parties participating in the Fee Panel process that there should
               be total transparency to the Fee Panel and to all fund participants. In connection with
               the process to be developed by the Fee Panel, any and all monies in attorney’s fees
               received or awarded, including prior or future Contingency Fees, Common Benefit
               Fees, referral fees, expenses paid, promises for payment, or any other Fee Entitlement,
               to any Applicant in any opioid litigation shall be disclosed to the Fee Panel as a
               condition of participating in the Attorney Fee Fund and prior to an award from the Fee
               Panel. Any payment, expectation of payment or perceived entitlement to participate
               in a State Back-Stop Agreement or any other agreement reached with a Settling State
               or any Subdivision or any other source regarding payment of fees must be disclosed to
               the Fee Panel. Similarly, any right to payment from any other fund, for example a fund
               for payment to lawyers representing Settling States or Tribal Nations or Subdivisions
               shall be disclosed to the Fee Panel. Because it is anticipated that there will be multiple
               firms listed on contingent fee agreements with Litigating Subdivisions, the Fee Panel
               shall establish procedures, with input from Attorneys for Participating Litigating
               Subdivisions, for which party or parties should petition for fees from such groups and
               to whom the fee shall be paid and thereafter distributed to co-counsel in accordance
               with applicable agreements. For the avoidance of doubt, all Attorneys that are part of
               such groups must meet the eligibility criteria in paragraph II.G.3, must be subject to
               the criteria set forth in paragraph II.C.4, and must be disclosed to the Fee Panel.



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            2. An Applicant may apply for and recover attorneys’ fees from the Common Benefit
               Fund, the Contingency Fee Fund, and any fund created by a past or future State Back-
               Stop Agreement, provided the Applicant satisfies the requirements relevant to each
               such fund and requirements for disclosure to the Fee Panel.


            3. An Attorney may not receive any payment from the Attorney Fee Fund (which includes
               both the Contingency Fee Fund and the Common Benefit Fund) unless the following
               eligibility criteria are met and annually certified by the Attorney:


               a. The Attorney must expressly waive the enforcement against the Litigating
                  Subdivision client of all Fee Entitlements (other than under State Back-Stop
                  Agreements) arising out of or related to any or all Qualifying Representations of
                  any Participating Litigating Subdivision prior to applying for attorneys’ fees from
                  the Attorney Fee Fund. All applications for attorneys’ fees under this Fee
                  Agreement shall include an affirmation by the Attorney of such waiver and notice
                  to the client(s) of such waiver. Such waiver shall not preclude the Attorney from
                  submitting such Fee Entitlements to the Fee Panel as a factor for consideration in
                  allocating payments from the Attorney Fee Fund or in connection with a State
                  Back-Stop Agreement. For the avoidance of doubt, no Attorney may recover fees
                  under this Fee Agreement unless the Attorney expressly agrees not to enforce Fee
                  Entitlements as to each and every Participating Litigating Subdivision represented
                  by that Attorney, but such Attorneys may participate in and receive funds from a
                  State Back-Stop Agreement.


               b. The Attorney must represent that s/he has no present intent to represent or
                  participate in the representation of any Later Litigating Subdivision or Later
                  Litigating State with respect to Released Claims against Released Entities.


               c. The Attorney must represent that s/he has not and will not engage in any
                  advertising or solicitation related to Released Claims against Released Entities
                  where such advertising or solicitation relates to a representation of a Subdivision
                  eligible to be a Participating Subdivision after the Reference Date unless the
                  Attorney is recommending participation in the Agreement..


               d. The Attorney must represent s/he will not charge or accept any referral fees for any
                  Released Claims brought against Released Entities by Later Litigating
                  Subdivisions or Later Litigating States. This representation shall not prohibit
                  Attorneys from receiving allocated shares of any future common benefit
                  assessments arising out of settlements or judgments with Later Litigating
                  Subdivisions or Later Litigating States that are the result of the MDL Court’s
                  Common Benefit Order.


               e. The Attorney may not have and must represent that s/he does not have a Fee
                  Entitlement related to a Later Litigating Subdivision or Later Litigating State, other
                  than a potential Common Benefit Fee.



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                f.   The Attorney must fully disclose the participation, or the anticipation of
                     participation, in any agreement with a Settling State or Participating Subdivision
                     concerning fees arising out of or related to the Walgreens Agreement, including
                     any fees paid or anticipated to be paid or any State Back-Stop Agreement.


                g. The Attorney must identify for the Fee Panel whether s/he utilized state litigation
                   work product or MDL work product, including but not limited to ARCOS data,
                   document repositories, experts developed in the MDL, trial transcripts, or
                   deposition transcripts. The Attorney must identify whether s/he signed the MDL
                   Participation Agreement.


                h. Any Attorney who applies for fees from one or both Funds must represent that,
                   having exercised his/her independent judgment, s/he believes the Walgreens
                   Agreement to be fair and will make or has made best efforts to recommend the
                   Agreement to his or her Subdivision clients in Settling States. For avoidance of
                   doubt, each Attorney is expected to exercise his or her independent judgment in
                   the best interest of each client individually before determining whether to
                   recommend joining the settlement. All applications for attorneys’ fees or costs
                   under this Section shall include an affirmation by the Attorney in compliance with
                   this Subsection.


            4. No Attorney receiving fees under this Fee Agreement may apply for or recover from
               the Attorney Fee Fund fees arising from representing a Non-Settling State or a Non-
               Participating Subdivision, provided, however, that this provision is not intended to
               prohibit Attorneys who do not represent or otherwise have a contractual agreement
               with such Non-Settling State or Non-Participating Subdivision from receiving
               allocated shares of any future common benefit assessments that arise out of settlements
               or judgments involving such Non-Settling State or Non-Participating Subdivision. All
               applications for attorneys’ fees under this Section shall include an affirmation by the
               Attorney of compliance with this Section.


            5. An Attorney who has filed an application under this section and received an award of
               attorneys’ fees shall provide a certification of compliance with the Sections of this Fee
               Agreement annually during the years upon which they are still entitled to receive
               attorneys’ fee payments under this Agreement. This certification will be done as
               directed by the Panel.


            6. If, at any time, the Attorney is unable to make the representations set forth in this
               Section, such representations become untrue, or the Attorney falsely represents
               compliance with the eligibility criteria, the Attorney shall cease to be eligible to receive
               funds from the Attorney Fee Fund until further review by the Fee Panel of the
               Attorney’s eligibility under and compliance with this Section II.


            7. If an Attorney has a Fee Entitlement with a Later Litigating Subdivision or Later
               Litigating State or otherwise becomes unable to reaffirm compliance with the
               eligibility criteria set forth above, the Attorney shall notify the Fee Panel. For the


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                avoidance of doubt, any Attorney who undertakes any new representation of, or has a
                Fee Entitlement with, a Later Litigating Subdivision or Later Litigating State shall be
                prohibited from receiving any future funds from the Attorney Fee Fund and be subject
                to additional obligations as set forth in Subsection 8 below.. If an Attorney fails to
                notify the Fee Panel of such Fee Entitlement with a Later Litigating Subdivision or
                Later Litigating State, the Attorney shall be required to refund amounts previously
                paid. The Fee Panel shall notify Walgreens when it receives notification.


            8. To the extent an Attorney who has received compensation from the Attorney Fee Fund
               based on Qualifying Representations of Participating Litigating Subdivisions under the
               Walgreens Agreement represents a Later Litigating Subdivision or Later Litigating
               State, such Attorney shall be obligated to refund such amounts received as
               compensation from the Attorney Fee Fund to Walgreens. Walgreens or such Attorney
               may bring any dispute as to whether such Attorney shall be obligated to refund such
               amounts received from the Attorney Fee Fund to Walgreens, to the Fee Panel. Nothing
               herein shall require a multi-attorney law firm that has received compensation from the
               Attorney Fee Fund to refund such amounts if an attorney of the firm that is no longer
               affiliated with such law firm, after such departure, represents a Later Litigating
               Subdivision or Later Litigating State, provided that (a) neither the law firm nor any of
               its other attorneys have any contractual or financial arrangement regarding, stand to
               benefit directly or indirectly from, or directly or indirectly provide financial or other
               support of any kind to, the former attorney’s representation of the Later Litigating
               Subdivision or Later Litigating State and (b) if the former attorney was a partner or
               owner of the multi-attorney law firm at the time that the law firm received
               compensation from the Attorney Fee Fund, the former attorney shall be obligated to
               refund such amounts as the former attorney earned as a result of the compensation that
               the law firm received from the Attorney Fee Fund.

            9. In the event that an Attorney is deemed ineligible by the Fee Panel (whether based on
               its initial application or subsequent recertification), the Fee Panel shall provide notice
               to the Attorney and give the Attorney 30 days to provide additional information such
               that the Fee Panel could re-consider the Attorney’s eligibility.


            10. To the extent that an Attorney has a Fee Entitlement with a Participating Subdivision
                and is authorized to bring Released Claims against Released Entities, but such
                authorization is, in scope, less broad than the category of Released Claims set forth in
                the Walgreens Agreement, such Attorney may participate fully in both the Contingency
                Fee Fund and the Common Benefit Fund, without any reduction imposed by the Fee
                Panel due to the scope of the authorization, so long as the Participating Subdivision
                fully releases all Released Claims against Released Entities.


            11. Attorneys applying to the Attorney Fee Fund knowingly and expressly agree to be
                bound by the decisions of the Fee Panel, subject to the limited appeal rights set forth
                in this Fee Agreement, and waive the ability to assert the lack of enforceability of the
                allocation reached through the procedures outlined herein.




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            12. Applicants are under an ongoing obligation to inform the Fee Panel in writing of any
                additional fees earned, expected, or received related to any Opioid litigation throughout
                the period of the Fee Panel’s operation.


      H.    Calculation of Amounts Due

            1. The Fee Panel shall be solely responsible for determining the amount of fees to be paid
               to each Applicant. None of the Released Entities shall have any responsibility,
               obligation, or liability of any kind whatsoever with respect to how attorneys’ fees are
               calculated under this Section, except that the Fee Panel may receive information from
               Walgreens as to (a) the identity of Participating, Non-Participating, Litigating, Later
               Litigating, and Non-Litigating Subdivisions; (b) the impact of non-participation by a
               Litigating Subdivision as is relevant to the Fee Panel’s determination in paragraph
               II.C.4; and (c) such other information as Walgreens may voluntarily elect to provide.


            2. The Fee Panel shall establish procedures for making determinations under this Fee
               Agreement consistent with this Fee Agreement and orders of the MDL Court. Such
               procedures may include submission of documentary and/or other evidence, interviews
               with Applicants and/or other counsel (including counsel for Walgreens) that the Fee
               Panel deems appropriate, and/or other means of creating a record upon which fee
               awards will be based.


            3. In making determinations under this Fee Agreement, the Fee Panel must apply the
               eligibility criteria set forth in Section II.G of this Fee Agreement and the criteria set
               forth in Section II. The Fee Panel shall ensure that payments are only made for
               Qualifying Representations of Participating Litigating Subdivisions. In addition, the
               Fee Panel will give consideration in regard to Common Benefit Fund awards to the
               Johnson factors, as well as the following factors (which factors may be applied and
               given relative weight in the Fee Panel’s discretion):


                a. The Applicant’s contemporaneously recorded time and labor dedicated to
                   Qualifying Representations along with the Applicant’s financial commitment to
                   such Qualifying Representations. Claimed “time” will not be automatically
                   accepted by the Fee Panel but will be critically reviewed and given substantially
                   more weight and consideration if such time was subject to the audit process
                   described in any Pretrial Order(s) governing the collection of common benefit
                   time;


                b. The novelty, time, and complexity of the Qualifying Representations;


                c. The skill requisite to perform legal services properly and undesirability of the case;


                d. The preclusion of other employment by the Applicant due to time dedicated to
                   Qualifying Representations;




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               e. The Common Benefit, if any, alleged to have been conferred by the Applicant and
                  whether such Common Benefit work product by that Applicant was used by others
                  in parallel litigations against Released Entities whether within or outside the MDL,
                  provided that any Applicant claiming that s/he substantially benefited cases other
                  than those in which s/he entered an appearance as counsel must substantiate such
                  claims by proffering factual support, such as proper supporting affidavits or other
                  documents as determined by the Fee Panel with input from Attorneys for
                  Participating Litigating Subdivisions;


               f.   Any “common detriment,” as set forth in paragraph II.C.4;


               g. Any contingent fee agreement or other Fee Entitlement with Participating
                  Subdivisions, enforcement of which, except for State Back-Stop Agreements, are
                  waived in conjunction with the application, the nature and extent of any work for
                  those Participating Subdivisions, whether such Participating Subdivisions actively
                  litigated and, if so, the nature and procedural history of such case(s);


               h. The experience, reputation, and ability of the Applicant;


               i.   Whether the Applicant’s clients brought Released Claims against Released
                    Entities;


               j.   The status of discovery in cases primarily handled by the Applicant;


               k. The nature of any work by the Applicant on “bellwether” cases or cases that were
                  similarly active in litigation;


               l.   Any pressure points successfully asserted by the Applicant in cases against
                    Walgreens or any risk for Walgreens created by the Applicant in cases against
                    Walgreens;


               m. Any risk for defendants created by Applicants in cases against Walgreens;


               n. Successful and unsuccessful motion practice in cases worked on by the Applicant;


               o. The date of filing of any cases filed by the Applicant;


               p. Obtaining consolidation of the litigation in the Applicant’s jurisdiction;


               q. The number and population of entities represented by the Applicant and the fees
                  that would have been awarded under extinguished contingent fee arrangements;



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                r.   Whether the Applicant’s clients brought claims against Walgreens prior to the
                     announcement of this settlement on December 9, 2022;


                s. Whether the Applicant has had a leadership role in the litigation, whether in state
                   or federal court;


                t.   Whether the Applicant has had a leadership role in any negotiations aimed at
                     resolving the litigation;


                u. Whether the Applicant’s cases have survived motions to dismiss;


                v. The extent to which the Applicant contributed to the work product used for the
                   common benefit of opioids litigants, including, without limitation, work on
                   ARCOS data, Prescription Data Monitoring Programs, IQVIA data, depositions,
                   document production and analysis experts, motions, briefs and pleadings, trial
                   preparations, and trials;


                w. The extent to which litigation occurred prior to and contributed to completion of
                   settlement negotiations, as distinct from litigation that occurred after the
                   announcement of the Walgreens Agreement on December 9, 2022, such latter
                   litigation both being of less value and, the case of litigation filed after the
                   announcement of the Walgreens Agreement on December 9, 2022, resulting in a
                   common detriment to the settlement process, which in both cases should be viewed
                   less favorably; and


                x. Any other factors that the Fee Panel finds to be appropriate to consider after input
                   from Applicants to the Attorney Fee Fund.


            4. It is possible that the States and Subdivisions that are litigating Opioid cases will enter
               additional settlements in close proximity of the time for processing the Walgreens
               Agreement. If there are additional settlements and these settlements create a Common
               Benefit Attorney Fee Fund to be administered by the Fee Panel, the Fee Panel may:

                a. Consolidate the Common Benefit approval process to include evaluation of all
                   Common Benefit Applications for all settlements entered after November 14,
                   2022;


                b. Determine the fair and equitable allocation of the Aggregate Common Benefit Fees
                   that come after December 9, 2022, including consideration of beneficial or
                   detrimental actions taken with respect to any Settling Defendant contributing to
                   the Common Benefit Attorney Fee Fund;

                c. Give consideration to the amount and timing of each settlement, including the
                   amount and timing of Common Benefit Fees;



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               d. The Fee Panel shall abide by the applicable Attorney Fee Agreement in each of the
                  Settlements in Allocating the Common Benefit Fees provided for in the Settlement;
                  and

               e. Be guided in their work by the Orders of the Court related to Fees and Costs.

            5. The Fee Panel shall develop procedures for receiving a single application, which may
               be updated or amended based on new information (such as participation by additional
               Litigating Subdivisions) from each Applicant seeking compensation from each sub
               fund of the Attorney Fee Fund pursuant to processes and procedures developed by the
               Fee Panel, which shall not be inconsistent with this Fee Agreement. Any request for
               attorneys’ fees not included on the single application or through the
               updating/amendment process designed by the Fee Panel shall be deemed waived. For
               purposes of transparency and to permit the Fee Panel to conduct its work, the
               application from each Applicant shall, at a minimum, require each Applicant to:


               a. Identify all Litigating Subdivisions for which s/he is seeking payment from the
                  Attorney Fee Fund;


               b. Identify all Subdivisions in both Settling and Non-Settling States (and, where
                  applicable, Tribal Nations) with respect to which s/he has a Fee Entitlement with
                  respect to Relevant Claims against Released Entities, and identify all co-counsel
                  in such cases;


               c. Identify which of those Subdivisions are Participating Subdivisions and which are
                  not (with similar information for Tribal Nations, where applicable);


               d. Specify the specific fund or funds within the Attorney Fee Fund from which the
                  Attorney is seeking compensation;


               e. Demonstrate his or her eligibility for compensation from the relevant sub funds
                  within the Attorney Fee Fund pursuant to the criteria set forth for the relevant sub
                  fund;


               f.   Identify any and all Fee Entitlements from representations of States, Tribal
                    Nations, or other plaintiffs related to Released Claims against Released Entities or
                    in opioids-related matters;


               g. Notwithstanding “a-f” above, the Panel may consider a supplemental application
                  if the Applicant shows good cause why circumstances exist that will lead to
                  consideration for additional Common Benefit award. Examples would include,
                  but are not limited to, an Applicant having Non-Participating Litigating
                  Subdivision clients that subsequently become Participating Subdivisions, a Bar
                  Date passes that increases participation or an Allocation Agreement is reached.



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            6. With respect to the Common Benefit Fund, the Fee Panel shall (subject to any
               applicable MDL Court Order):


                a. Review the applications of all Applicants seeking compensation from the Common
                   Benefit Fund, including determining eligibility for each Applicant as set forth in
                   Section II.G.


                b. Using criteria set forth in Sections II.C and II.G, allocate amounts from the
                   Common Benefit Fund to eligible Applicants, including payment amounts for each
                   Payment Year. In making such allocations, the Panel shall apply the principles set
                   forth in paragraph II.C.5 to the amounts paid to Applicants with a Common Benefit
                   Fee Entitlement.


            7. With respect to the Contingency Fee Fund, the Fee Panel shall:


                a. Review the applications of all Attorneys seeking compensation from the Litigating
                   Subdivision Fee Fund, including determining eligibility for each Attorney as set
                   forth in Section II.G.


                b. Apply the Mathematical Model in Exhibit A.


                c. Use such allocations to determine refund amounts owed to Walgreens from the
                   Attorney Fee Fund, and inform Walgreens and the MDL PEC of all such
                   adjustments.


            8. To the extent that there is a dispute about the calculations of the Fee Panel related to
               the amount that Walgreens is required to pay (including application of any reductions
               or refunds under this Fee Agreement), such disputes shall be presented to the Fee Panel
               and any disputed funds be paid into/held in escrow. The Fee Panel shall resolve such
               disputes expeditiously, with either Party having the right to seek review from the MDL
               Court.


            9. For purposes of determination of fee or cost awards, allocations, reductions, and
               possible reversions under this Fee Agreement, unless specified otherwise a Subdivision
               will be considered a Non-Participating Subdivision if it is not a Participating
               Subdivision as of the deadline for the application for the fee at issue (or, if the
               determination does not involve a specific application, the date on which the record for
               such determination closes).


            10. In the event that the Fee Panel, through the use of the Mathematical Model set forth in
                Exhibit A, allocates funds from the Contingency Fee Fund for an Attorney based on a
                Qualifying Representation of a Participating Litigating Subdivision and that
                Subdivision is in a Settling State in which the Consent Judgment has not been



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                  approved, such funds shall be placed into escrow until the Consent Judgment is
                  approved, after which time they shall be released.


       I.     Miscellaneous

              1. The Fee Panel shall charge an hourly rate approved by the Court. The Pre-Effective
                  Date costs associated with the Cost and Expense Fund Administrator shall be paid from
                  funds in the Cost Fund. Post-Effective Date, the cost of the Fee Panel shall be charged
                  against the applicable Fee Fund based on allocation by the Fee Panel and shall not be
                  otherwise funded by Walgreens.


              2. The MDL PEC will seek, and the Attorneys General for Settling States and the
                  Walgreens will not oppose, a Common Benefit Fee Order requiring an assessment of
                  7.5% on the gross recovery (by judgment or settlement) of any Non-Participating
                  Subdivision that is subject to the federal court jurisdiction, represented by a MDL PEC
                  firm, represented by any Attorney receiving fees from the Common Benefit Fund,
                  represented by any Attorney that signed a Participation Agreement or had been paid in
                  a case otherwise under the jurisdiction of the MDL Court.

              3. The MDL PEC shall provide to Walgreens information the PEC has that identifies
                  Attorneys who represent Litigating Subdivisions who are not Participating
                  Subdivisions and who have an obligation to pay a common benefit assessment, either
                  due to the MDL Court’s orders or pursuant to a Participation Agreement.


              4. The MDL PEC and Walgreens agree that it is a conflict of interest for an Attorney that
                  had represented a Participating Subdivision to represent a Later Litigating Subdivision
                  or Later Litigating State. This Subsection shall be enforceable to the extent permitted
                  by the equivalent to Rules 1.16 and 5.6 of the ABA Model Rules of Professional
                  Conduct in the relevant jurisdictions. The MDL PEC represents that it will comply
                  with this provision in the case of the Walgreens Agreement until the Effective Date of
                  the Walgreens Agreement, as well as thereafter, if the Walgreens Agreement proceeds.

              5. Participating Subdivisions agree to instruct their counsel to treat information, work
                  product and expert materials as confidential under Rule 1.6 of the ABA Model Rules
                  of Professional Conduct. Accordingly, an Attorney shall not share information or work
                  product with, or experts or materials to, non-participants (other than the Attorney’s
                  own current clients or their lawyers, consultants, experts or other representatives or
                  agents). However, nothing herein shall prevent MDL Leadership or PEC Counsel from
                  fulfilling their obligations in any MDL and the MDL Court Order.


III.   Miscellaneous



       A. Termination. If the Walgreens Agreement does not proceed past the Reference Date, whether
          because Walgreens does not determine to proceed or for any other reason, this Fee Agreement
          shall be null and void, Walgreens shall have no obligation to make any payments under this


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          Fee Agreement, and Walgreens and the MDL PEC shall take such steps as are necessary to
          restore the status quo ante.



      B. MDL Court Consideration. This Fee Agreement shall be attached as an exhibit to the
         Walgreens Agreement. This Fee Agreement shall also be submitted by Walgreens and the
         MDL PEC to the MDL Court for approval pursuant to the motion and order that shall be
         attached.


              1. In the event that the MDL Court, through an order, makes any change to the amounts
                 potentially to be paid by Walgreens under this Fee Agreement, makes any change to
                 the Fee Panel’s consideration of the factors set forth in paragraph II.C.4, or any other
                 material change to the draft Order attached as part of Exhibit B or the terms of this Fee
                 Agreement, Walgreens and the MDL PEC shall meet and confer concerning such
                 changes. The MDL Court shall have no authority to increase the payments made by
                 Walgreens related to fees and costs beyond the amounts described in this Fee
                 Agreement.


              2. If Walgreens and the MDL PEC are unable to reach agreement and revisions to this
                 Fee Agreement, this Fee Agreement shall be null and void, Walgreens shall have no
                 obligation to make any payments under this Fee Agreement, and Walgreens and the
                 MDL PEC shall take such further steps as are necessary to restore the status quo ante.


      C. Amendment. Once the MDL Court has entered an order implementing this Fee Agreement, this
         Fee Agreement can only be amended by (1) written agreement of Walgreens and the MDL PEC
         and (2) approval by the MDL Court.



      D. Jurisdiction and Enforcement. The MDL Court shall have exclusive and ongoing jurisdiction
         over the enforcement and implementation of this Fee Agreement as set forth herein. The MDL
         PEC shall be the Authorized Party to enforce this Fee Agreement, as to the payment obligations
         of Walgreens as set forth in this Fee Agreement and as to Attorneys making application to the
         Funds under this Fee Agreement. Solely for purposes of assessing or allocating common
         benefit fees, the MDL Court will continue to have jurisdiction over the work product developed
         in the MDL Court by and under the direction of the MDL PEC with respect to claims against
         Walgreens, including data and documents, depositions, expert reports, briefs and pleadings;
         and the MDL Court’s protective orders, management orders, and other decisions regarding
         such discovery and other work product, including but not limited to, conditions on its use, will
         continue in full force and effect. Nothing in this paragraph authorizes the MDL Court to act
         contrary to this Agreement or to share any of the work product, or provides the MDL Court
         with jurisdiction over the Walgreens Agreement.




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              Description of Mathematical Model for the Allocation of the Contingency Fee Funds

                                         Walgreens Settlement Agreement


    This document describes the Mathematical Model for allocation of the Contingency Fee Fund described
    in Exhibit R (Agreement of Attorneys’ Fees, Costs, and Expenses) to the Walgreens Settlement
    Agreement.9 Awards of fees from the Contingency Fee Funds shall be available to Attorneys with
    Qualifying Representations of Participating Litigating Subdivisions eligible to receive an allocation
    under the Walgreens Settlement Agreement.10 A Fee Panel shall oversee the application of the Model
    and resolve any questions or disputes concerning the eligibility of a counsel to participate. The Panel is
    empowered to hear disputes concerning and ensure the accuracy of the mathematical calculations.


    In general terms, allocation of the Contingency Fee Fund shall be made by (1) determining the amount
    of the Settlement Fund that is attributable to each Participating Litigating Subdivision; (2) making certain
    adjustments to these amounts based on when the Subdivision filed suit and the terms of the applicable fee
    contract; and (3) dividing the Contingency Fee Fund proportionately among counsel for each Participating
    Litigating Subdivision based on the amounts calculated in subpart 2.


    To collect a fee award from the Contingency Fee Fund, a Participating Litigating Subdivision must have
    named Walgreens (or any Released Entity) in its lawsuit. The total maximum amount of the Contingency
    Fee Fund in the Walgreens Settlement Agreement is $225,493,007.20.11

    Allocation of the Contingency Fee Fund shall be made according to the following steps. These
    calculations are made only for purpose of determining the percentage share of the Contingency Fee Fund
    that Attorneys for each Participating Litigating Subdivision should receive, not for determining the dollar
    amount each Subdivision will receive.

    (1) For each Settling State, attribute 50% of the settlement funds for that State to its Subdivisions
        according to the Subdivision Allocation Percentage in Exhibit G to the Walgreens Settlement
        Agreement.


            Illustrative example:

                    Assume that State A is allocated 1.00000% of the $4,788,165,458 Remediation
                     amount [see Exhibit M of the Walgreens Settlement Agreement].
                    50% of the 1% share allocated to State A is $23,940,827.29.
                    Assume that, per Exhibit G of the Agreement, the Subdivision Allocation
                     Percentage for City B in State A is 1.00000000%.

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    See Walgreens Settlement Agreement, Exhibit R § II.D.2.
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     Walgreens Settlement Agreement, Exhibit R § II.D.2.
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     Walgreens Settlement Agreement, Exhibit R § II.A.1 & II.D.1.

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               For purposes of determining its counsel’s share of the Contingency Fee Fund, City B is
                attributed 1.00000000% of $23,940,827.29, or $239,408.27.


    (2) Adjust the amounts in paragraph 1 as follows:

            a. Upward Adjustment for Early Filers. Increase the amount calculated in paragraph 1
                above by 10% for any Litigating Subdivision that named Walgreens in a suit before
                December 5, 2017, the date the National Prescription Opiate Litigation MDL was
                formed. If the Litigating Subdivision did not name Walgreens in a suit before December
                2, 2022, then fees from the Contingency Fee Fund will not be awarded to Attorneys with
                otherwise Qualifying Representations of that Participating Litigating Subdivision.


                Illustrative Example:
                       Assume City C is attributed $1,000,000 under paragraph 1 above.
                       If City C named Walgreens before 12/5/2017, the attributed amount would
                        be adjusted to $1,100,000.


            b. Determine Amount Due under Contingency Fee Contract. Determine the amount that
                would be due to Attorneys with Qualifying Representations of each Participating
                Litigating Subdivision under the terms of the applicable fee contract if the Participating
                Litigating Subdivision were to receive the amount calculated in paragraph 2.a. This
                amount can be referred to as the Contingency Fee Assumption.


                Illustrative Example:

                       Continuing the example given in paragraph 2.a, if Attorneys have a 20%
                        contingency fee contract with City C for the relevant litigation, the amount
                        calculated in this step would be 20% of $1,100,000, or $220,000.


        In the next step, the Contingency Fee Assumption is used to determine the percentage share of the
        Contingency Fee Fund due to Attorneys for each Participating Litigating Subdivision.



    (3) Divide the Contingency Fee Fund proportionately among Attorneys for each Participating
        Litigating Subdivision in two ways:


            a. National Fee Pool Calculation. Determine each Litigating Subdivision’s percentage
                share of all amounts due under contingency fee contracts nationwide by dividing the
                Contingency Fee Assumption calculated for each Subdivision in paragraph 2.b by the
                sum of all Contingency Fee Assumptions.       Then multiply that percentage by the
                Contingency Fee Fund to figure each Subdivision’s dollar share of the Contingency Fee


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                   Fund (but only if the Subdivision timely named Walgreens in a lawsuit).


                   Illustrative example:
                           $220,000 [from para. 2.b] ÷ $280,000,000 [total amount owed under contingency
                            fee contracts nationwide] = 0.0785714%12
                           0.0785714% * $225,493,007.20 [Contingency Fee Fund] =
                            $177,173.01



              b. Separate State Fee Pools Calculation. Determine each Litigating Subdivision’s
                   percentage share of all amounts due under contingency fee contracts statewide by
                   dividing the Contingency Fee Assumption calculated for each Subdivision in paragraph
                   2.b by the sum of all Contingency Fee Assumptions in the same State. Then multiply
                   that percentage by the portion of the Contingency Fee Fund that corresponds to that
                   State’s Overall Allocation Percentage, shown in Exhibit F of the Walgreens Settlement
                   Agreement, to figure each Subdivision’s dollar share of the Contingency Fee Fund (but
                   only if the Subdivision timely named Walgreens in a lawsuit).


                   Illustrative example:
                           1% * $225,493,007.20 = $2,254,930.072 [amount of the Contingency
                            Fee Fund corresponding to State A]
                           Assume a total of $2,500,000 is owed under contingency fee contracts for State
                            A.
                           $220,000 [from para. 2.b] ÷ $2,500,000 = 8.8%
                           8.8% * $2,254,930.072 = $198,433.85


          The award of fees to Attorneys with Qualifying Representations of Participating Litigating
          Subdivisions will be the average of the final amounts calculated in paragraphs 3.a and 3.b above,
          less any amounts the Fee Panel is authorized to, and does, withhold.13

          Paragraph 3.a represents allocation based on a proportional share of a National Fee Pool, while
          paragraph 3.b represents allocation based on a proportional share of the Separate State Fee Pools.
          In other words, for the National Fee Pool described above in paragraph 3.a, the contingency fee
          contract rate is compared to all other contingency fee contract rates in the nation. For the Separate
          State Fee Pools described above in paragraph 3.b, the contingency fee contract terms are

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  In this example, $280 million is the amount theoretically owed under all contingency fee contracts for litigation
against Walgreens as calculated in paragraph 2.b. This amount is illustrative only; the actual amount will not be
known until all litigating subdivisions are identified and the terms of their contingency fee contracts are collected.
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  The model also enforces a maximum fee award of 20% of the amount calculated in paragraph 2.b. The description
in this document of the Mathematical Model is by necessity an abstraction; the precise contours of the calculations
are defined in the model itself.


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       compared to the other contingency fee contract terms in that same State. The National Fee Pool
       and the Separate State Fee Pools are given equal weighting.


       Using the first methodology, Attorneys for two Subdivisions in different States with the same
       amount calculated under paragraph 2.b would be assigned the same amount under paragraph 3.a.
       Using the second methodology, Attorneys for the same two Subdivisions would be assigned
       different amounts under paragraph 3.b because they are in different States. Specifically, the
       Subdivision in the State with a smaller proportion of Participating Litigating Subdivisions would
       be allocated more than the Subdivision in the State with a greater proportion of Participating
       Litigating Subdivisions.




                                          By:


                                          Name:




                                          Date:


                                          On behalf of Walgreens




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                                 By:


                                 Name: Paul T. Farrell, Jr.




                                 Date:




                                 By:


                                 Name: Jayne Conroy




                                 Date:




                                 By:


                                 Name: Joseph F. Rice




                                 Date:


                                 On behalf of Plaintiffs’ Executive Committee


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